871 F.2d 1097
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Maurice W. HALL, Petitioner,v.DEPARTMENT OF the AIR FORCE, Respondent.
    No. 88-3392.
    United States Court of Appeals, Federal Circuit.
    March 13, 1989.
    
      Before NIES, Circuit Judge, NICHOLS, Senior Circuit Judge, and ARCHER, Circuit Judge.
      PER CURIAM.
    
    
      1
      The initial decision of the Merit Systems Protection Board (Board), which became final on July 12, 1988, Docket No. AT07528810001, sustained the Department of the Air Force's demotion of Maurice W. Hall (Hall) from Aircraft Overhaul Foreman to Sheet Metal Mechanic.  We have considered each of Hall's arguments, yet are unpersuaded of any error committed by the administrative judge (AJ) or the full Board.   See Hayes v. Department of the Navy, 727 F.2d 1535, 1537, (Fed.Cir.1984).  Accordingly, on the basis of the AJ's opinion, the decision of the Board is affirmed.
    
    